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                     Exhibit A
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                                                            TOBEROFF
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February 10, 2025

Via Email: WDSavitt@wlrk.com; SKEddy@wlrk.com


Bret Taylor, Chairperson                     Adebayo Ogunlesi
Samuel Altman, CEO                           Gen. Paul Nakasone
Adam D’Angelo                                Nicole Seligman
Dr. Sue Desmond-Hellman                      Fidji Simo
Zico Kolter                                  Larry Summers

OpenAI, Inc.
550 Terry A Francois Blvd.
San Francisco, CA 94158

Dear Members of the Board of OpenAI, Inc.:

        On behalf of a consortium of investors (the “Buyer”), including X.AI Corp., Baron
Capital Group, Inc., Valor Management LLC, Atreides Management, LP, Vy Fund III, L.P.,
Emanuel Capital Management, LLC, Eight Partners VC, LLC, and others, I am pleased to submit
this letter of intent (“Letter of Intent”) outlining their proposal to acquire all assets (the
“Business”) of OpenAI, Inc. (the “Company”), on substantially the proposed terms and
conditions set forth in Exhibit A hereto (the “Transaction”). This proposal is subject in all
respects to the terms and conditions of this Letter of Intent.

        1.      Definitive Agreement. The obligations of Buyer, the Company, and its Members
to consummate the Transaction and related transactions are subject to and conditioned upon (a)
the negotiation and execution by Company and Buyer of a mutually acceptable definitive
agreement governing the Transaction (the “Definitive Agreement”), and (b) satisfaction of all
conditions precedent to closing as identified in the Definitive Agreement. The rights and
obligations of Buyer and the Company with respect to the Transaction and related transactions
will be only as set forth in the Definitive Agreement.

       2.    Due Diligence. During the Term of this Letter of Intent, the Company will, upon
reasonable advance notice and during normal business hours, (a) afford Buyer and its
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representatives customary due diligence investigation of the Company and its Business including
access to any assets, facilities, equipment, books, and records of the Company in connection with
the Business, and (b) upon reasonable request from Buyer with respect to particular personnel
involved in the Business, grant Buyer and its representatives access to such personnel.

       3.      Operation of the Business. From the date of execution of this Letter of Intent
through the Termination Date (as defined below), Company shall use reasonable efforts to
continue to operate the Business in the ordinary course consistent with past practices.

        4.      Expenses. Whether or not the parties enter into the Definitive Agreement with
respect to the Transaction and related transactions (but subject to the terms and conditions of the
Definitive Agreement if entered into), each of the parties hereto will pay its own costs and
expenses (including, without limitation, legal, financial advisory, and accounting fees and
expenses) incurred at any time in connection with investigating, pursuing, or consummating the
Transaction.

       5.      Counterparts. This Letter of Intent may be executed by electronic means and in
any number of counterparts, each of which when executed and delivered will be deemed to be
an original and all of which counterparts taken together will constitute but one and the same
instrument.

        6.     Integration; Modifications. This Letter of Intent supersedes any prior written or
oral understanding or agreements between the parties related to the Transaction and related
transactions. This Letter of Intent may be amended, modified, or supplemented only by written
agreement of the parties.

         7.     Term. This Letter of Intent and its Term (the “Term”) will commence on the date
hereof and terminate upon the earliest to occur of the following (the “Termination Date”): (a)
the execution and delivery of the Definitive Agreement; (b) May 10, 2025; (c) the date that the
parties mutually agree in writing to terminate this Letter of Intent; or (d) upon the Buyer’s receipt
of the Company’s written declination to negotiate and/or enter into a Definitive Agreement.
Upon such termination, this Letter of Intent will be deemed null, void, and of no further force or
effect, except for the respective obligations of the parties under Section 4 (Expenses), which will
survive any termination of this Letter of Intent.

        8.      Governing Law; Consent to Jurisdiction. This Letter of Intent, the rights and
obligations of the parties hereto, and any claims or disputes relating thereto, will be governed by
and construed under and in accordance with the laws of the State of Texas, without regard to
conflicts of law principles that would result in the application of any law other than the laws of
the State of Texas. Each party to this Letter of Intent hereby irrevocably and unconditionally
submits, for itself and its property, to the exclusive jurisdiction of the United States District Court
for the Western District of Texas, or if such court does not have jurisdiction, any Texas State
court, sitting in Austin, Texas, and any appellate court from any thereof, in any action or
proceeding arising out of or relating to this Letter of Intent or for recognition or enforcement of
any judgment relating thereto.

       We look forward to the opportunity to work with you to consummate a transaction as
quickly as possible. Please acknowledge your acceptance of and agreement to the foregoing by

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signing and returning to the undersigned as soon as possible a counterpart of this Letter of
Intent.

                                             Very truly yours,


                                             Marc Toberoff

                                             [BUYER]

                                             By: ______________________________
                                             Name:
                                             Title:

                                             [BUYER]

                                             By:    ______________________________
                                             Name:
                                             Title:

                                             [BUYER]

                                             By:    ______________________________
                                             Name:
                                             Title:

                                             [BUYER]

                                             By:     ______________________________




ACCEPTED AND AGREED:

OPENAI, INC.

By:    ___________________________
Name:
Title:




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                                           Exhibit A

The principal terms and conditions of the Transaction Buyer proposes are as follows:

1.      Purchase Price and Terms. Based upon Buyer’s limited review of selected financial
and other information available to Buyer to date, Buyer would expect to acquire all assets of the
Company for approximately Ninety-Seven Billion Three Hundred Seventy-Five Million U.S.
Dollars ($97,375,000,000.). Buyer’s valuation is based on the Company’s historical financial
results as well as projections for the Company available to Buyer to date, and it assumes the
Company’s public representations as to its ownership and complete control of its various
subsidiary or affiliated for-profit entities (the “OpenAI For-Profit Entities”) are accurate.
Buyer anticipates that one hundred percent (100%) of the total purchase price would be paid in
cash. The structure of the Transaction will be determined after taking into further account tax
and other legal considerations.

2.     Source of Financing. Buyer will not require third-party debt financing to be a
contingency to closing the Transaction.

3.       Due Diligence. Buyer’s proposal is subject to customary due diligence investigation of
the Company, including of the OpenAI For-Profit Entities, satisfactory to Buyer in its sole
discretion. Key due diligence activities would include, among other things, (i) a complete legal,
financial (including an audit), and tax review of the Company and its OpenAI For-Profit Entities,
(ii) a detailed review of the Company’s financial projections, including as to the OpenAI For-
Profit Entities, with a focus on the key drivers of revenue growth and EBITDA, and (iii) detailed
discussions with management.

4.      Definitive Documentation. The final price and terms of the Transaction will depend
upon, among other things, (i) the negotiation and execution of a mutually acceptable Definitive
Agreement and other documentation containing such representations and warranties, conditions,
covenants and agreements, indemnification, and other terms as are customary or appropriate for
a transaction of this type, and (ii) receipt of any necessary consents or approvals.

5.      Time and Process. Buyer has extensive resources to complete due diligence and
transaction documentation, as well as a decision-making process that allows Buyer to review and
complete desirable transactions in a highly expeditious manner. Given Buyer’s familiarity with
the industry, along with its commitment to move expeditiously, Buyer’s expectation would be
to close within thirty (30) days of the completion of its due diligence.




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